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                                                UNITED STATES DISTRICT COURT
                  9
                                           CENTRAL DISTRICT OF CALIFORNIA
              10

              11
                      Rafael Arroyo,                              Case No. 5:21-cv-00023-JWH (SPx)
              12
                                   Plaintiff,                     DEFENDANT’S MEMORANDUM OF
              13                                                  POINTS AND AUTHORITIES IN
                            v.                                    SUPPORT OF ITS MOTION TO STAY
              14                                                  ACTION PENDING RELATED
                      DTPS C-12, LLC, a California Limited        APPEALS BEFORE THE NINTH
              15      Liability Company; and Does 1-10,           CIRCUIT COURT OF APPEALS
              16                   Defendants.                    Date:              January 21, 2022
              17                                                  Time:              9:00 a.m.
                                                                  Place:             Courtroom 2
              18

              19                                                  Complaint Filed:  October 7, 2020
                                                                  FAC Filed:        March 12, 2021
              20                                                  Trial Date:       None
                                                                  District Judge:   Hon. John W. Holcomb
              21                                                                    Courtroom 2, Riverside
                                                                  Magistrate Judge: Hon. Sheri Pym
              22                                                                    Courtroom 3, Riverside
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                  1                   MEMORANDUM OF POINTS AND AUTHORITIES
                  2   I.       INTRODUCTION
                  3            This action is one of at least 451 virtually identical lawsuits collectively
                  4   brought by plaintiff Rafael Arroyo (“Plaintiff”) and other individuals represented by
                  5   his counsel—the Potter Handy law firm—alleging that a defendant hotel’s website
                  6   reservation system is in violation of 28 C.F.R. 36.302(e) (“Section 36.302(e)” or the
                  7   “Reservations Rule”) by failing to provide enough accessibility information on its
                  8   reservation system.1
                  9            At least 69 of these cases have been dismissed by courts across this Circuit to
              10      date;2 and of those dismissals, at least six are presently under appeal before the
              11      Ninth Circuit Court of Appeals (the “Related Appeals”)3:
              12               1.    Garcia v. Gateway Hotel L.P., Ninth Circuit Case No. 21-55227;
              13               2.    Love v. Marriott Hotel Services. Inc., Ninth Circuit Case No. 21-15458
                                     (“Marriott Hotel”);
              14
                               3.    Garcia v. E.L. Heritage Inn of Sacramento, LLC, Ninth Circuit Case
              15                     No. 21-15674 (“Heritage Inn”);
              16               4.    Scherer v. SMI Hotel LLC, et al., Ninth Circuit Case No. 21-55815;
              17               5.    Marquez v. DiamondRock Hb Owner, LLC, et al., Ninth Circuit Case
                                     No. 21-55814; and
              18
                               6.    Garcia v. Apple Seven SPE San Diego, Inc., Ninth Circuit Case No. 21-
              19                     55863.
              20

              21
                      1
              22        See Request for Judicial Notice in Support of Motion to Stay Action Pending
                      Related Appeals (“RJN”) ¶ 1, Ex. 1 (listing 84 lawsuits by Plaintiff Rafael Arroyo
              23      and 367 lawsuits brought by Potter Handy law firm on behalf of plaintiffs Orlando
                      Garcia, Samuel Love , Dwain Lammey, Gilbert Salinas, Mary Rios, Gary Scherer,
              24      and Luis Marquez, all of which allege that a defendant hotel’s website is in violation
                      of 28 U.S.C. § 36.302(e)).
              25      2
                        See RJN ¶ 2, Ex. 2.
                      3
                        See RJN ¶ 3 & Ex. 3 (copies of the Ninth Circuit dockets for each of the 6 appeals.
              26      Two of these Related Appeals are being considered for oral argument in
                      February, March, or April of 2022. See Marriott Hotel, Case No. 21-15458 [RJN
              27      Ex. 3 at p. 8, ECF No. 31]; Heritage Inn, Case No. 21-15674 [RJN Ex. 3 at 11-12,
                      ECF No. 19].
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                  1            On September 21, 2021 and November 17, 2021, defendant DTPS C-12, LLC
                  2   (“Defendant”) contacted Plaintiff requesting that the parties stipulate to stay this
                  3   action while the Related Appeals were pending before the Ninth Circuit.4 However,
                  4   Plaintiff refused to stipulate to a stay, despite the fact that Plaintiff has entered into
                  5   this same stipulation or argued in favor of a stay in at least 4 nearly identical cases.5
                  6            In fact, on at least three other Reservations Rule case, Plaintiff has argued in
                  7   favor of staying the action on the same grounds that Defendant now moves this Court
                  8   to stay the action pending the Related Appeals. As this Plaintiff explained in these
                  9   cases, where the courts issued an Order to Show Cause why the case should not be
              10      stayed pending the related appeals before the Ninth Circuit:
              11               At the heart of this dispute is what accessibility information must be
                               disclosed by a hotel on its reservations website in order to comply
              12               with the Reservations Rule. The resolution of this issue will require
                               the Court to interpret the Reservations Rule as well as guidance
              13               from the U.S. Department of Justice that was published with the
                               Reservations Rule. Recently, three virtually identical lawsuits
              14               brought by plaintiff represented by Plaintiff’s attorneys here have
                               been dismissed with prejudice, and Plaintiffs filed appeals to the
              15               Court of Appeals for the Ninth Circuit. Because these three lawsuits
                               involve precisely the same legal question that is at issue in this
              16               case, Plaintiff believes a stay pending the outcome of the three
                               appeals is warranted.
              17

              18      Arroyo v. Let It Flho, LP, Case No. 4:21-cv-01153-DMR, Plaintiff’s Response
              19      to Order to Show Cause [ECF No. 19] at 1-2.6
              20               This is precisely the situation in the present case. Accordingly,
              21      Defendant hereby moves this Court for an Order staying this action pending
              22

              23      4
                        See Declaration of J. Nicholas Marfori (“Marfori Decl.”) ¶¶ 3-4.
                      5
                        See RJN ¶ 4 & Ex. 4 (Plaintiff’s stipulations to stay action pending the related
              24      Ninth Circuit appeals in the following Reservations Rule cases: Arroyo v. HLT San
                      Jose LLC, Case No. 5:20-cv-08547; Arroyo v. Investel Harbor Resorts LLC, 8:21-cv-
              25      00052; Arroyo v. Disney Way Hotel Partners, LLC et al, 8:21-cv-00204; Arroyo v.
                      Walter Hotel Corp. et al 5:21-CV-00464).
              26      6
                        See RJN Ex. 5 at 1-3 (attaching document); see also id. at 5 (stating the same in
                      Arroyo v. KBMS Hospitality Corporation et al, Case No. 8:21-cv-00239-JLS-DFM);
              27      id. at 12-13 (stating the same in Arroyo v. S.M. Broadway Corp., Case No. 4:20-cv-
                      09007-DMR).
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                  1   the Related Appeals. As explained below, the Court should grant Defendant’s
                  2   Motion and stay this action on the following grounds: (1) the Related Appeals
                  3   involve a controlling question of law, the resolution of which would
                  4   materially affect the outcome of this action; (2) no damage will result to
                  5   Plaintiff if the Court stays this action pending the Related Appeals; (3) both
                  6   Plaintiff and Defendant would suffer hardship if required to go forward in this
                  7   action; and (4) Plaintiff is judicially estopped from arguing against a stay on
                  8   these grounds in light of his prior arguments for, and/or concessions to, a stay
                  9   of the action pending a decision on the Related Appeals on these same
              10      grounds in his other identical Reservations Rule cases.
              11      II.   RELEVANT BACKGROUND
              12            On March 12, 2021, Plaintiff Rafael Arroyo filed his First Amended
              13      Complaint in this action (“FAC”) against Defendant—a Complaint that is essentially
              14      identical to the 84 other complaints he has filed hotels in California since October
              15      2020—alleging that the website reservation system for the Kimpton Rowan Palm
              16      Springs Hotel (the “Hotel”) failed to adequately identify and describe the hotel’s
              17      accessible features in violation of 28 C.F.R. § 36.302(e). Specifically, Plaintiff’s
              18      claims in this action under the Americans with Disabilities Act (“ADA”) and the
              19      Unruh Civil Rights Act (“Unruh Act”) are based solely on an alleged violation of 28
              20      C.F.R. § 36.302(e), which provides, in relevant part, the following:
              21            A public accommodation that owns, leases (or leases to), or operates a
                            place of lodging shall, with respect to reservations made by any
              22            means, including by telephone, in-person, or through a third party …
                            “[i]dentify and describe accessible features in the hotels and guest
              23            rooms offered through its reservations service in enough detail to
                            reasonably permit individuals with disabilities to assess independently
              24            whether a given hotel or guest room meets his or her accessibility
                            needs.
              25

              26      28 C.F.R. 36.302(e)(1) (emphasis added) (“Section 36.302(e)” or the “Reservations
              27      Rule”); see FAC ¶¶ 37-38, 40-41.
              28
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                  1            On or about March 29, 2021, the parties met and conferred regarding
                  2   Defendant’s anticipated Rule 12(b)(6) motion to dismiss the First Amended
                  3   Complaint—Defendant was not aware (nor made aware by Plaintiff’s counsel)
                  4   that one or more of the Related Appeals had been filed at that time.
                  5   (Declaration of J. Nicholas Marfori (“Marfori Decl.”) ¶ 2.) On April 5, 2021,
                  6   Defendant filed its Rule 12(b)(6) Motion to Dismiss Plaintiff’s First Amended
                  7   Complaint [ECF No. 14] (the “Motion to Dismiss”) on the ground that Plaintiff
                  8   failed to state a claim because Defendant’s website reservation system was in
                  9   compliance with Section 36.302(e) as interpreted by the Department of Justice
              10      guidance regarding Section 36.302(e), which provides in relevant part as follows:
              11               The Department recognizes that a reservations system is not intended
                               to be an accessibility survey. However, specific information
              12               concerning accessibility features is essential to travelers with
                               disabilities. Because of the wide variations in the level of accessibility
              13               that travelers will encounter, the Department cannot specify what
                               information must be included in every instance. For hotels that were
              14               built in compliance with the 1991 Standards, it may be sufficient to
                               specify that the hotel is accessible and, for each accessible room, to
              15               describe the general type of room (e.g., deluxe executive suite), the
                               size and number of beds (e.g., two queen beds), the type of accessible
              16               bathing facility (e.g., roll-in shower), and communications features
                               available in the room (e.g., alarms and visual notification devices).
              17               Based on that information, many individuals with disabilities will be
                               comfortable making reservations.
              18

              19      Motion to Dismiss [ECF No. 14] at 7 (citing 28 C.F.R. Pt. 36, App. A § 302
              20      (the “DOJ Guidance”)7). Defendant contended that the Hotel’s website
              21      provided the same, if not more information, described in the DOJ Guidance,
              22      and was therefore in compliance with Section 36.302(e).
              23               However, the Court disagreed and issued its Order denying
              24      Defendant’s Motion to Dismiss [ECF No. 21] (“Order”), finding that “it is
              25      not clear that the Hotel’s website complies with the DOJ Guidance” based
              26
                      7
                  Available at
              27 https://www.ada.gov/regs2010/titleIII_2010/titleIII_2010_regulations.htm#a2010gui
                 dance.
              28
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                  1   on the Court’s interpretation of what “‘may be sufficient’ under the DOJ
                  2   Guidance” with respect to website descriptions about hotel room’s bathing
                  3   facilities. See Order [ECF No. 21] at 7-8.        Notably, the Court did not
                  4   definitively hold that the Hotel’s website did not comply with the
                  5   Reservations Rule; rather, the Court held that it could not grant Defendant’s
                  6   Motion due to the lack of clarity in the law.
                  7          On September 21, 2021, Defendant’s counsel contacted Plaintiff’s counsel
                  8   requesting that the parties stipulate to stay this action while the Related Appeals were
                  9   pending before the Ninth Circuit. (Marfori Decl. ¶ 3.) However, Plaintiff’s counsel
              10      refused to stipulate to a stay. (Id.) On November 17, 2021, Defendant met and
              11      conferred with Plaintiff’s counsel regarding Defendant’s anticipated Motion to Stay
              12      Action Pending Related Appeals and discussed, among other things, the several other
              13      cases in which Plaintiff stipulated to, and even argued in favor of, staying this action
              14      until a decision was rendered in the related appeals before the Ninth Circuit.
              15      (Marfori Decl. ¶ 4.) Plaintiff again refused to stipulate to a stay. (Id.) This Motion
              16      to Stay followed.
              17      III.   THE COURT SHOULD STAY THIS ACTION PENDING THE
                             RELATED APPEALS BEFORE THE NINTH CIRCUIT
              18

              19             A district court “‘has broad discretion to stay proceedings as an incident to its
              20      power to control its own docket’ in an effort to promote judicial economy.”
              21      DeMartini v. Johns, 693 Fed. Appx. 534, 538 (9th Cir. 2017) citing Clinton v. Jones,
              22      520 U.S. 681, 706-07 (1997). A district court “may, with propriety, find it is efficient
              23      for its own docket and the fairest course for the parties to enter a stay of an action
              24      before it, pending resolution of independent proceedings which bear upon the case.”
              25      Leyva v. Certified Grocers of Cal. Ltd., 593 F.2d 857, 863 (9th Cir. 1979). “The
              26      existence of another proceeding that may have a substantial impact on a pending case
              27      is a particularly compelling reason to grant a stay.” Larsen v. City of Los Angeles,
              28
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                  1   No. 12-cv-04392, 2012 WL 12887557, *9 (C.D. Cal. Aug. 3, 2012) citing Leyva,
                  2   593 F.2d at 863-64. However, when considering whether to stay proceedings
                  3   pending an appeal in another case, a district court must consider: “the possible
                  4   damage which may result from the granting of a stay, the hardship or inequity which
                  5   a party may suffer in being required to go forward, and the orderly course of justice
                  6   measured in terms of the simplifying or complicating of issues, proof, and questions
                  7   of law which could be expected to result from a stay.” Lockyer v. Mirant Corp., 398
                  8   F.3d 1098, 1110 (9th Cir. 2005) citing Landis v. N. Am. Co., 299 U.S. 248, 255
                  9   (1936).
              10            A.     The Related Appeals Pending Before the Ninth Circuit Present a
                                   Controlling Question Law in This Action: What Accessibility
              11                   Information a Hotel Must Provide on Its Reservation System in
                                   Order to Comply with 28 C.F.R. § 36.302(e).
              12

              13            A question of law is controlling “if its resolution on appeal ‘could materially
              14      affect the outcome of litigation in the district court.’” Brickman v. Facebook, Inc.,
              15      No. 16-cv-00751, 2017 WL 1508719, *2 (N.D. Cal. April 27, 2017) citing In re
              16      Cement Antitrust Litigation, 673 F.2d 1020, 1026 (9th Cir. 1981). A question is
              17      considering “controlling” even if “its resolution does not determine who will prevail
              18      on the merits.” Id. citing Kuehner v. Dickinson & Co., 84 F.3d 316, 318-19 (9th Cir.
              19      1996). Courts have explained that “the existence of another proceeding that may
              20      have a substantial impact on a pending case is a particularly compelling reason to
              21      grant a stay.” Larsen, 2012 WL 12887557 at *9 citing Leyva, 593 F.2d at 863-64.
              22            Here, the controlling question of law in the Related Appeals is what accessible
              23      information a hotel must provide on its reservation system in order to comply with
              24      Section 36.302(e). See, e.g., Garcia v. Gateway Hotel L.P., Case No. Case:
              25      21-55227, Appellant’s Opening Brief [ECF No. 7] at 7-8 (identifying the issue for
              26      appellate review as whether the district court erred in concluding that “label[ing]
              27      hotel features as ‘accessible’ without any further detail or description” is sufficient to
              28
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                  1   comply with Section 36.302(e)(1)). This question is controlling in the present action
                  2   given that Defendant here has argued, and continues to argue despite this Court’s
                  3   denial of its Motion to Dismiss, that Defendant’s Hotel’s reservation system
                  4   complies with Section 36.302(e) because its website—like the website in Gateway
                  5   Hotel L.P.—describes the hotel features as accessible and provides more detail about
                  6   said accessible features than the websites in the Related Appeals. See Defendant’s
                  7   Memorandum of Points and Authorities In Support of Its Motion to Dismiss [ECF
                  8   14-1] at 15-19. The Ninth Circuit’s decision on this issue will necessarily resolve the
                  9   question at issue in this matter—what information is necessary to satisfy Section
              10      36.302(e)(1). Once that question has been answered, this Court can definitively rule
              11      as to whether Defendant’s website complies with Section 36.302(e)(1).8 As
              12      Plaintiff himself articulated in another nearly identical matter in which he argued in
              13      favor of a stay:
              14               At the heart of this dispute is what accessibility information must be
                               disclosed by a hotel on its reservations website in order to comply with
              15               the Reservations Rule. The resolution of this issue will require the
                               Court to interpret the Reservations Rule as well as guidance from the
              16               U.S. Department of Justice that was published with the Reservations
                               Rule. Recently, three virtually identical lawsuits brought by plaintiff
              17               represented by Plaintiff’s attorneys here have been dismissed with
                               prejudice, and Plaintiffs filed appeals to the Court of Appeals for the
              18               Ninth Circuit. Because these three lawsuits involve precisely the
                               same legal question that is at issue in this case, Plaintiff believes a
              19               stay pending the outcome of the three appeals is warranted.
              20

              21      8
                        Further, this Court referenced but did not opine on the issue of whether providing a
                      telephone number or email address for customers to contact the hotel additional
              22      accessibility information satisfies a hotels obligations under the Reservations Rule
                      (see Order [ECF 21] at 6); However, this issue was briefed by both parties on
              23      Defendant’s Motion to Dismiss and is squarely at issue in the Related Appeals. See
                      Motion to Dismiss [ECF No. 14-1] at 19-20; Plaintiff’s Opposition to Motion to
              24      Dismiss [ECF No. 15] at 6; see, e.g., Gateway Appeal, Appellant’s Excerpts of
                      Record [ECF No. 8] at 10 (attaching Order Dismissing Case stating: “The DOJ
              25      acknowledges that ‘individuals with disabilities may wish to contact the hotel or
                      reservations services for more detailed information.’ 28 C.F.R. § Pt. 36, App. A.
              26      Courts have interpreted this to mean that a website need not include all
                      potentially relevant accessibility information where an inquiring patron can
              27      simply call the hotel for more information.”) Thus, a decision by the Ninth
                      Circuit on this issue in the Gateway Appeal will be controlling in this action.
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                  1   RJN Ex. 5 at 1-2 (emphasis added); see also id. at 5 (stating the same in Arroyo v.
                  2   KBMS Hospitality Corporation et al, Case No. 8:21-cv-00239-JLS-DFM); id. at 12-
                  3   13 (stating the same in Arroyo v. S.M. Broadway Corp., Case No. 4:20-cv-09007-
                  4   DMR).
                  5         Defendant intends to file a dispositive motion in this action; however, this
                  6   Court will lack controlling authority on this topic if the Court does not stay this
                  7   matter. On the other hand, if the Court stays the case until the Ninth Circuit issues
                  8   its decision, the parties and the Court will all be in a position of confidence as to
                  9   what is required by the law.
              10            Therefore, the Court should stay this action pending the resolution of this
              11      controlling question of law at issue in the Related Appeals. Larsen, 2012 WL
              12      12887557 at *9 citing Leyva, 593 F.2d at 863-64.
              13            B.     Granting a Stay of This Action Will Not Result in Damage or
                                   Hardship to Plaintiff and Instead Result in Simplifying the Issues,
              14                   Proof, and Questions of Law in This Action.
              15            In deciding whether to grant a stay, a court must consider “the possible
              16      damage which may result from the granting of a stay, the hardship or inequity which
              17      a party may suffer in being required to go forward, and the orderly course of justice
              18      measured in terms of the simplifying or complicating of issues, proof, and questions
              19      of law which could be expected to result from a stay.” Lockyer v. Mirant Corp., 398
              20      F.3d 1098, 1110 (9th Cir. 2005) citing Landis v. N. Am. Co., 299 U.S. 248, 255
              21      (1936); Leyva, 593 F.2d at 863-64. These factors weigh in favor of staying this
              22      action pending a decision by the Ninth Circuit on the Related Appeals.
              23            It is clear that Plaintiff will suffer no damage as a result of a stay of this
              24      action. In fact, in at least seven of his other Reservations Rule cases, Plaintiff has
              25      stipulated—and even argued in favor of—a stay of the action pending a decision on
              26      one or more of the Related Appeals before the Ninth Circuit. See RJN 4, Ex. 4
              27      (cases where Rafael Arroyo has stipulated to stay action pending the Related
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                  1   Appeals); RJN 5, Ex. 5 (cases where Plaintiff argued in favor of a stay in his
                  2   responses to the court’s Order to Show Cause why the case should not be stayed,
                  3   stating that “good cause exists for a stay of this case pending the Ninth Circuit
                  4   decisions in the appeals”). In these pleadings, Plaintiff has made clear that he will
                  5   not be prejudiced by a stay of the aforementioned actions. This matter is identical in
                  6   all relevant respects. Plaintiff cannot articulate any harm he could suffer as a result
                  7   of a stay in this matter that he could not articulate in any of his prior cases.
                  8         Second, both parties will suffer hardship if required to go forward with the
                  9   case. Without a stay of the action, the parties will expend significant time and
              10      resources on discovery and briefing summary judgment motions on the very issue
              11      that is already under review in the Related Appeals. Further, the Court would
              12      expend resources reviewing and deciding questions of law that will be decided in the
              13      Related Appeals. Denying a stay of the action will certainly result in a waste of both
              14      judicial resources and those of the parties.
              15            Third, as noted above, a stay of the action to allow the Ninth Circuit to decide
              16      a question of law that is controlling in this action will greatly simplify the legal
              17      issues in this action after a decision is issued in the Related Appeals.
              18            Therefore, all factors weigh in favor of staying this action until the Ninth
              19      Circuit issues its decisions on the Related Appeals.
              20      IV.   PLAINTIFF RAFAEL ARROYO IS JUDICIALLY ESTOPPED FROM
                            ARGUING AGAINST A STAY OF THIS ACTION PENDING THE
              21            RELATED APPEALS
              22            “Judicial estoppel, sometimes also known as the doctrine of preclusion of
              23      inconsistent positions, precludes a party from gaining an advantage by taking one
              24      position, and then seeking a second advantage by taking an incompatible
              25      position.” Whaley v. Belleque, 520 F.3d 997, 1002 (9th Cir. 2008) (quoting Rissetto
              26      v. Plumbers & Steamfitters Local 343, 94 F.3d 597, 600 (9th Cir.1996)). “Judicial
              27      estoppel is an equitable doctrine that is intended to protect the integrity of the
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                  1   judicial process by preventing a litigant from playing fast and loose with the
                  2   courts.” Wagner v. Prof'l Eng'rs in Cal. Gov't, 354 F.3d 1036, 1044 (9th Cir.2004)
                  3   (internal quotation marks omitted). When determining whether judicial estoppel is
                  4   warranted, courts look to three factors: (1) “a party’s later position must be ‘clearly
                  5   inconsistent’ with its earlier position”; (2) whether the party succeeded in its prior
                  6   position, because “[a]bsent success in a prior proceeding, a party's later inconsistent
                  7   position introduces no ‘risk of inconsistent court determinations' ”; and (3) “whether
                  8   the party seeking to assert an inconsistent position would derive an unfair advantage
                  9   or impose an unfair detriment on the opposing party if not estopped.” United States
              10      v. Kim, 806 F.3d 1161, 1167 (9th Cir. 2015) (citing New Hampshire v. Maine, 532
              11      U.S. 742, 750–51, 121 S.Ct. 1808, 149 L.Ed.2d 968 (2001) (citations omitted).
              12            Here, Defendant preemptively invokes the doctrine of judicial estoppel to
              13      preclude Plaintiff from arguing against a stay of this action pending the Related
              14      Appeals in the Ninth Circuit. First, as described above, not only has Plaintiff
              15      previously stipulated to stay at least four nearly identical Reservations Rule cases
              16      pending one or more of the Related Appeals, Plaintiff has argued in favor of a stay of
              17      at least three cases pending the Related Appeals using the same arguments set forth
              18      in this Motion for a stay. Thus, any attempt by Plaintiff to argue against a stay of the
              19      action on the same grounds set forth in this Motion would be a “clearly inconsistent”
              20      position warranting judicial estoppel. Kim, 806 F.3d at 1167. As the courts in the
              21      seven cases in which Plaintiff stipulated to a stay or argued in favor of a stay of the
              22      action pending the Related Appeals actually stayed the actions pending the Related
              23      Appeals, Plaintiff “succeeded in its prior position”. Thus, the second factor
              24      supporting the application of the doctrine of judicial estoppel is met.
              25            By taking an inconsistent position regarding a stay of these actions, Plaintiff
              26      would derive an unfair advantage or impose an unfair detriment on the Defendant if
              27      not estopped. As mentioned above, Defendant will suffer hardship if the case is not
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                  1   stayed as it will be forced to expend resources on discovery and dispositive motions
                  2   on a question of law that is already at issue before the Ninth Circuit. Further, given
                  3   that Plaintiff has filed at least 84 nearly identical Reservations Rule cases, many of
                  4   which are still pending in the United States District Courts and California state
                  5   courts, allowing Plaintiff to take inconsistent positions on the necessity for a stay in
                  6   these actions—including this action—pending the Related Appeals gives Plaintiff an
                  7   unfair advantage of cherry-picking which cases will be stayed by the Court.
                  8         Accordingly, Plaintiff is judicially estopped from arguing against a stay of this
                  9   action pending the Related Appeals in the Ninth Circuit Court of Appeals.
              10      V.     CONCLUSION
              11            At issue in the Related Appeals is a question of law that is controlling in this
              12      action: what accessible information a hotel must provide on its reservation system in
              13      order to comply with Section 36.302(e). A stay of this action would not result in any
              14      harm to Plaintiff, but instead allow the parties to avoid hardship in expending
              15      resources in discovery and summary judgments on controlling legal issue that will be
              16      decided in the Ninth Circuit. Plaintiff, who previously stipulated to stay of four
              17      other Reservations Rule cases and argued in favor of a stay in at least three other
              18      cases, is judicially estopped from now arguing against a stay of the action pending
              19      the Related Appeals. For these reasons, the Court should stay this action until the
              20      Ninth Circuit issues a decision in the Related Appeals.
              21                                              Respectfully submitted,
              22      DATED: November 24, 2021                OGLETREE, DEAKINS, NASH, SMOAK &
                                                              STEWART, P.C.
              23

              24

              25                                              By: /s/ J. Nicholas Marfori
                                                                  Amber L. Roller
              26                                                  J. Nicholas Marfori
              27                                              Attorneys for Defendant
                                                              DTPS C-12, LLC
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